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                          DISTRICT OF MONTANA, MISSOULA DIVISION
TANYA GERSH                                                       BENCH WARRANT FOR ARREST

              v.                                               CASE NUMBER: CV-17-050- M-DLC

ANDREW ANGLIN, publisher of the Daily Stormer

TO:    UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER


         YOU ARE HEREBY COMMANDED to arrest and take into custody ANDREW ANGLIN for
failure to comply with the Court’s order dated 9/28/22, and to bring him before the Court as promptly as
he can be located and transported to Missoula, Montana.

Assigned to: Dana L. Christensen

Name of Issuing Officer: Sarah Nagy, Deputy Clerk

                                                                                     November 9, 2022
_______________________________
  _________
         _______
              ____
                 _ __
                   ____                                                                 Missoula, MT
Signature      Issuing
  gnature of Issui   ngg Officer
                  uiin

                                                         ______________________________________
BAIL FIXED AT $ NONE                                                       By Dana L. Christensen
                                                                          Name of Judicial Officer

                                             RETURN
 DATE RECEIVED:                                      LOCATION:

 EXECUTED BY ARREST OF THE ABOVE-NAMED DEFENDANT
 DATE OF ARREST:                                                         Timothy Hornung (A),
                                                                     UNITED STATES MARSHAL
 LOCATION:
 BY:                                        Deputy U.S. Marshal
